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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

JONATHAN DAVEY,                     )
                                    )
                                    )
                        Plaintiff   )                 Civil Action No. 19-106 (ABJ)
                                    )
      v.                            )
                                    )
UNITED STATES DEPARTMENT            )
OF JUSTICE,                         )
FEDERAL BUREAU                      )
OF INVESTIGATION,                   )
                                    )
                        Defendant.  )
____________________________________)

                              DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s Minute Order dated May 24, 2019, Defendant Federal Bureau of

Investigation (“FBI”) respectfully submits this status report in this Freedom of Information Act

(“FOIA”) case.

       The FBI has advised that it has determined that a FOIA exemption that it previously

asserted in response to plaintiff’s request no longer applies and that it will need additional time to

conduct a search and responsiveness review. The FBI further advised that it anticipates needing

approximately 60 days to complete the search and responsiveness review and that it will then be

able to propose a processing schedule.

       The FBI respectfully requests additional time to provide a schedule for completion of its

production of non-exempt, responsive records and proposes filing another status report on or

before September 5, 2019.
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Date: June 19, 2019
                                    Respectfully submitted,

                                    JESSIE K. LIU, D.C. Bar # 472845
                                    United States Attorney

                                    DANIEL F. VAN HORN, D.C. Bar # 924092
                                    Chief, Civil Division

                                    By: /s/ Marsha W. Yee
                                    MARSHA W. YEE
                                    Assistant United States Attorney
                                    Civil Division
                                    United States Attorney’s Office
                                    555 4th Street, N.W.
                                    Washington, D.C. 20530
                                    Telephone: (202) 252-2539
                                    Email: Marsha.Yee@usdoj.gov

                                    Counsel for Defendant




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